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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

__________________________

In Re:                                         )
                                               )
ROBERT WYN YOUNG                               )   Civil Action No. 4:25-cv-02057
                                               )
    Appellant.                                 )
__________________________

In Re:                                         )   Chapter 7
                                               )
ALEXANDER E. JONES                             )   Bankruptcy Case No. 22-33553 (CML)
                                               )
    Debtor.                                    )
__________________________

                     APPELLANT’S DESIGNATION OF THE RECORD
                     AND STATEMENT OF THE ISSUE(S) ON APPEAL

         Pursuant to FRBP 8009(a)(1), Pro Se Attorney Intervenor/Interested Party~Appellant,

Robert Wyn Young (“Appellant” or “Interested Party~Appellant”), hereby submits the following

Designation of the Record and Statement of the Issue(s) on Appeal.

I.       APPELLANT’S DESIGNATION OF THE RECORD ON APPEAL:

      Bankruptcy        Date Entered in
     Docket Number     Bankruptcy Docket        Brief Description of Document
         1118              03/17/25      Motion to Appear Pro Hac Vice for Robert
                                         Wyn Young
         1118-1            03/17/25      Proposed Order Granting Motion for Robert
                                         Wyn Young to Appear pro hac vice
         1119              03/18/25      Order Granting Motion for Robert Wyn
                                         Young to Appear pro hac vice
         1120              03/19/25      Motion for Leave to Intervene to Present
                                         Evidence of Fraudulent Judgment



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1120-1          03/19/25      Exhibit 1: Lafferty Fed Ct. Remand File
                              (Full), Trial Ct. Dckt. 112.00
1120-2          03/19/25      Exhibit 2: 02.24.25 Email to CM Saldana
                              re_Jones Ch7
1120-3          03/19/25      Exhibit 3: 02.24.25 Emails w_CM Saldana &
                              Trustee Murray re_Jones Ch7
1120-4          03/19/25      Exhibit 4: 02.24.25 Email to Trustee Murray
                              w_6 Att. re_Jones Ch7
1120-5          03/19/25      Exhibit 5: Lafferty Fed Court Remand Docs
                              (Pgs. 1 thru 93 Only)
1120-6          03/19/25      Exhibit 6: Lafferty Ruling Re_Motion to
                              Remand 11.05.18
1120-7          03/19/25      Exhibit 7: Public Statement re_SH & Alex
                              Jones 11.11.24
1120-8          03/19/25      Exhibit 8: Operation Madcap Highlights PPT
                              11.10.24
1120-9          03/19/25      Exhibit 9: SE(Patriots List) Re_AJ_SH Part II
                              12.15.24
1120-10         03/19/25      Exhibit 10: Callender's AJ_SH Endorsement
                              12.23.24
1120-11         03/19/25      Exhibit 11: 02.27.25 Email to Trustee Murray
                              w_1 Att. re_Jones Ch7
1120-12         03/19/25      Exhibit 12: PwrPnt for Jones BR Trustee

1120-13         03/19/25      Exhibit 13: 02.28.25 Email from Trustee
                              Murray re_Jones Ch7
1120-14         03/19/25      Exhibit 14: 03.04.25 Email to Trustee Murray
                              & Counsel w_1 Att. re_Jones Ch7
1120-15         03/19/25      Exhibit 15: Attachment for 03.04.25 Email to
                              CH7T & UST Counsel
1120-16         03/19/25      Exhibit 16: Newstimes 03.12.25_SH Families
                              Shift Tactics
1120-17         03/19/25      Proposed Order on Motion for Leave to
                              Intervene to Present Evidence of Fraudulent
                              Judgment
 1122           03/20/25      BNC Certificate of Mailing. (Re:1119 Order
                              on Motion to Appear pro hac vice)
 1124           04/08/25      Response/Opposition of the Connecticut
                              Families to Motion for Leave to Intervene




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      1126                  04/11/25         Motion to Strike Connecticut Families’
                                             Opposition to Motion for Leave to Intervene
      1126-1                04/11/25         Proposed Order on Motion to Strike
                                             Connecticut Families’ Opposition to Motion
                                             for Leave to Intervene
      1128                  04/11/25         Reply in Support of Motion for Leave to
                                             Intervene to Present Evidence of Fraudulent
                                             Judgment
      1129                  04/22/25         Order Denying Motion for Leave to Intervene

      1130                  04/24/25         BNC Certificate of Mailing. (R:1129 Order on
                                             Motion to Intervene)
      1135                  05/04/25         Intervenor’s Notice of Appeal and Statement
                                             of Election
      1135-1                05/04/25         Order Denying Motion for Leave to Intervene

      1135-2                05/04/25         Motion for Leave to Appeal Order Denying
                                             Intervention to Present Evidence of
                                             Fraudulent Judgment
      1135-3                05/04/25         Civil Cover Sheet of Interested Party-
                                             Appellant Robert Wyn Young
      1136                  05/06/25         Election to Appeal to Court of Appeals.
                                             (Young, Robert)
      1137                  05/07/25         Election to Appeal to District Court. (hl4)

      1138                  05/07/25         Clerk's Notice of Filing of an Appeal. On 05-
                                             04-2025, Robert Wyn Young filed a notice of
                                             appeal.
      1140                  05/09/25         BNC Certificate of Mailing. (Re: 1138 Clerk's
                                             Notice of Filing of an Appeal)


II.   APPELLANT’S STATEMENT OF THE ISSUE(S) ON APPEAL:

      1.       In view of the absolute bar of bankruptcy discharge for debts incurred by
               fraud or collusion under Section 523(a)(2)(A) of the Bankruptcy Code [as
               recognized/confirmed by unanimous decision of the Supreme Court in
               Bartenwerfer v. Buckley, 598 U.S. 69 (2023)], does a bankruptcy court
               abuse its discretion in denying a Motion for Leave to Intervene to Present
               Evidence of Fraudulent Judgment where: (1) operative and admissible



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               evidence demonstrates collusion between the parties to the underlying
               lawsuit/judgment debt and the bankruptcy proceeding arising therefrom; (2)
               the Chapter 7 Trustee fails or refuses to fulfill his duties to investigate
               and report the credible allegation of fraud or collusion; and (3) the
               intervenor has suffered at least a minimal or indirect injury as a result of
               the existing parties’ fraud or collusion and seeks intervention for the limited
               and specific purpose of submitting evidence of said fraud or collusion to the
               bankruptcy court?

       Interested Party~Appellant respectfully submits that the question presented should be

answered affirmatively and that, under the circumstances of this case, it was, indeed, an abuse of

discretion for the Bankruptcy Court to deny Interested Party~Appellant’s requested intervention

in Case No. 22-33553 (CML) to present evidence of fraudulent judgment.


                                                      Respectfully submitted,


Date: 05/14/25                                        /s/ Robert Wyn Young
                                                      Robert Wyn Young (OH Bar #0064876)
                                                      Law Office of R. Wyn Young, Esq.
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                                                      Mansfield, OH 44907
                                                      Email: rwynyoung25@gmail.com
                                                      Phone: (513) 238~2821
                                                      Pro Se Attorney Intervenor/
                                                      Interested Party~Appellant


                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 14, 2025, I caused a copy of the foregoing Appellant’s
Designation of the Record and Statement of the Issue(s) on Appeal to be served on all
subscribed parties by the Electronic Case Filing System of the United States Bankruptcy Court for
the Southern District of Texas.


                                                      /s/ Robert Wyn Young
                                                      Robert Wyn Young



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